Case 5:22-cv-00094-JWH-SHK Document 45-1 Filed 01/25/22 Page 1 of 4 Page ID #:432




                                     UNITED STATES DISTRICT COURT
                                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                           EASTERN DIVISION


                                                       )
        EMPYREAL ENTERPRISES,            LLC,          )
                                                       )
                        Plaintiff,                     )
                                                       )
                        v.                             )     Case No.: 5:22-cv-00094-JWH-SHK
                                                       )
        THE UNITED STATES OF AMERICA,                  )
        et aI,                                         )
                                                       )
                        Defendants.                    )




                                       DECLARATION         OF DAVID RICKER

                I, David Ricker, declare pursuant to 28 U .S.C. § 1746 as follows:

                1.      I am employed by the Federal Bureau ofInvestigation       (FBI) as a Special Agent,

         currently assigned to the Los Angeles Field Office.

                2.      I am assigned to the Inland Empire Hybrid Task Force ("IEHTF") and embedded

         with the Inland Regional Narcotics Enforcement Team ("IRNET").          The IEHTF's mission is to

         identify, target, and prosecute Transnational Criminal Organizations who are engaged in criminal

         activity involving a myriad of federal violations, including, but not limited to, drug trafficking

         and money laundering.

                3.      On November 17,2021, I was contacted by Task Force Officer ("TFO") Carlos

         Arrieta and San Bernardino Sheriff's Department ("SBSD") Deputy Jonathan Franco to advise of

         their seizure of$712,176.36   during a traffic stop conducted on November 16, 2021.




                                                                                                   FBI Declaration
Case 5:22-cv-00094-JWH-SHK Document 45-1 Filed 01/25/22 Page 2 of 4 Page ID #:433




                   4.    Probable cause was developed during the traffic stop on November 16 to believe

        that the   u.s. currency   represented proceeds of21 U.S.C. Section 841(a)(1) - possession with

        intent to manufacture, distribute, or dispense a controlled substance. During the traffic stop, the

        driver for the Plaintiff and two supervisors for the Plaintiff provided conflicting statements

        regarding the nature and purpose of the U.S. currency being transported out of state.

                   5.     The FBI obtained the SBSD reports regarding the seizure of$712,176.36        and

        opened an FBI case relating to the stop on November 16, 2021. The FBI initiated administrative

        forfeiture of the $712,176.36 in U.S. currency, identified by FBI asset identification number 22-

        FBI-000784.

                   6.     With regard to asset identification number 22-FBI-000784,     records of the FBI

        reflect that letters giving written notice of the government's   seizure of and intent to forfeit the

        currency, together with information on the applicable procedures to contest the forfeiture of the

        currency, were sent to parties who appeared to have an interest in the seized property by United

        States certified mail, return receipt requested.   On January 11,2022, notice letters were mailed to

        Empyreal Enterprises LLC at the following addresses: c/o David Bass, 1478 Stonepoint Drive,

        Ste. 435, Roseville, CA 95661; Attn. Michael Jerome, 2840 N. Commerce Ct., Las Vegas, NV

         80121; 2925 S. Umatilla St., Englewood, CO 80110. The letters explain an interested party's

         right to file a claim to contest the forfeiture action in U.S. District Court and state the deadline of

         February 15,2022 to file a claim. Copies of the notice letters to Empyreal Enterprises are

         attached hereto as Exhibit # 1.

                    7.    On December 9, 2021, I was contacted by TFO Arrieta to advise of the task

         force's seizure of$351,353.88.




                                                                                                     FBI Declaration
Case 5:22-cv-00094-JWH-SHK Document 45-1 Filed 01/25/22 Page 3 of 4 Page ID #:434




                8.      Probable cause was developed during the traffic stop on December 9, 2021 to

        believe that the u.s. currency was being laundered in violation of 18 U.S.C Section 1956-

        laundering of monetary instruments.     During the investigation, investigators learned that the

        driver for Plaintiff had a document in his possession instructing him what to do ifhe is stopped

        by law enforcement. Specifically, the document instructed the driver to ''NEVER SAY the words

        CANNABIS, or MARIJUANA"            and "NEVER SAY the NAMES OF THE BANKS OR

         CLIENTS WE SERVICE."

                9.      The FBI obtained the SBSD reports regarding the seizure of$351,353.88

         (including a photograph of the aforementioned document) and opened an FBI case relating to the

         stop on December 9,2021. The FBI is in the process of initiating administrative forfeiture of the

         seized u.S. currency.

                10.     I have also been advised that the Drug Enforcement Administration ("DEA") out

         of the Kansas City Field Office has an open investigation that is related to the allegations made

         in Plaintiff's Renewed Ex Parte Application for Temporary Restraining Order.

                 11.     Pursuant to a law enforcement deconfliction database search, Deputy Franco

         informed me that DEA Special Agent ("SA") Bryson Wheeler from Kansas had an open

         investigation related to the Plaintiff. During telephone calls, I learned the DEA had conducted a

         traffic stop on one of Plaintiff's vehicles on May 18,2021, and seized approximately $165,620 in

         suspected illicit proceeds.

                 12.     On January 21, 2022, I learned from the United States Marshal Service ("USMS")

         out of Kansas that they were assisting with the active fmancial portion of the civil forfeiture

         investigation regarding the seizure of the Plaintiff.




                                                                                                  FBI Declaration
Case 5:22-cv-00094-JWH-SHK Document 45-1 Filed 01/25/22 Page 4 of 4 Page ID #:435




             I declare under penalty of perjury that the foregoing is true and correct.




                                            Executed this 24th day of January, 2022, in Riverside, CA.




                                      ~2.~:
                                       ~VidRiCkeI
                                            Special Agent
                                            Los Angeles Field Office
                                            Federal Bureau ofInvestigation




                                                                                            FBI Declaration
